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                          UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
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10   SCOTT THOMAS CAMPBELL,                           Case No. 1:23-cv-01776-SAB

11                   Plaintiff,                       ORDER RE STIPULATION FOR EXTENSION
                                                      OF TIME
12           v.
                                                      (ECF No. 16)
13   COMMISSIONER OF SOCIAL
     SECURITY,
14
                     Defendant.
15

16          On May 30, 2024, a stipulation was filed to extend the time for Defendant to respond to

17 Plaintiff’s motion for summary judgment. (ECF No. 16.) The Court finds good cause to grant

18 the stipulated request.

19          Accordingly, pursuant to the stipulation of the parties, IT IS HEREBY ORDERED that:

20          1.       Defendant’s opposition brief shall be filed on or before July 1, 2024; and

21          2.       Plaintiff’s reply, if any, shall be due fourteen (14) days after Defendant’s

22                   responsive pleading is filed.

23
     IT IS SO ORDERED.
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25 Dated:        May 31, 2024
                                                          UNITED STATES MAGISTRATE JUDGE
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